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                           UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF IDAHO

          KATIE ROBINSON, et al.,
               Plaintiffs,
                           v.
          RAÚL LABRADOR, et al.,                                    Case No. 1:24-cv-00306-DCN
               Defendants.                                          PLAINTIFFS’ MOTION FOR
                                                                    RENEWED PRELIMINARY
                                                                    INJUNCTION




        Plaintiffs request this court reissue its September 3, 2024, Preliminary Injunction prior to

December 2, 2024—its 90-day expiration date under the Prison Litigation Reform Act (“PLRA”). 18

U.S.C. § 3626(a)(2) (“Preliminary injunctive relief shall automatically expire on the date that is 90 days
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after its entry, unless the court makes the findings required under subsection (a)(1) for the entry of

prospective relief and makes the order final before the expiration of the 90-day period.”).


         This motion is based on the attached memorandum of law in its support and the declarations

filed with it.


Dated: October 28, 2024                                           Respectfully submitted,

                                                                  /s/ Emily Myrei Croston
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